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                                ROBERT MARINELLI
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                                                                                             November 12, 2017

 VIA ECF
 Honorable Pamela K. Chen
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:    Natifah Cooper v. City of New York, et al., 14-cv-6136 (PKC)(RLM)

 Your Honor:

        I am the attorney for plaintiff in the above-referenced action. Plaintiff respectfully
 requests an extension of time to submit her motion for fees until after motion practice is
 complete. I requested defendant’s position on this request on November 8, but have not received
 a response.



                                                                          Respectfully submitted,
                                                                          /s/
                                                                          Robert Marinelli
 cc:    ACCs Evan Brustein, Ashley Garman
